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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                        11/2/20
THEODORE HARPER,
               Plaintiff,                            19-CV-11864 (PGG) (BCM)
       -against-                                     ORDER
NATIONAL RAILROAD PASSENGER
CORPORATION, et al.
               Defendants.

BARBARA MOSES, United States Magistrate Judge.

        The Court has received and reviewed defendants' letter-motion dated October 30, 2020
(Dkt. No. 40), requesting permission to file a motion to dismiss for plaintiff's "failure to provide
any discovery," or in the alternative, a discovery conference. Plaintiff shall file his response no
later than November 5, 2020, pursuant to Moses Ind. Prac. § 2(e). Defendants may file a reply
no later than November 9, 2020.

        It is hereby ORDERED that the Court will conduct a telephonic discovery conference
regarding defendants' letter-motion on November 16, 2020, at 10:00 a.m. At that time, the
parties shall call (888) 557-8511 and enter the access code 7746387.

Dated: New York, New York
       November 2, 2020                       SO ORDERED.


                                              ______________________________
                                              BARBARA MOSES
                                              United States Magistrate Judge
